      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 1 of 12



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     Taipei Co., Ltd.
12
                                 UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                      SAN FRANCISCO DIVISION
15

16
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No.: CV-07-5944-SC
17   ANTITRUST LITIGATION
                                                     MDL No. 1917
18   This Document Relates to All Actions
                                                     THIRD AMENDED NOTICE OF
19                                                   SUBSTITUTION OF ATTORNEY;
                                                     [PROPOSED] ORDER
20
                                                     Judge: Hon. Samuel Conti
21
                                                     Special Master: Hon. Charles A. Legge (Ret.)
22

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     _________________________________
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                   Notice is hereby given that, subject to approval by the court, Defendants LG
27
     Electronics, Inc., LG Electronics U.S.A., Inc., and LG Electronics Taiwan Taipei Co., Ltd.
28
     Master File No.: CV-07-5944-SC                                    THIRD AMENDED NOTICE OF
     MDL No. 1917                                                     SUBSTITUTION OF ATTORNEY;
     19252466.1                                                                [PROPOSED] ORDER
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 2 of 12



 1   (collectively, the “LGE Defendants”), substitute the law firm of Munger, Tolles & Olson LLP, as
 2   the attorneys of record in place of the law firm of Arnold & Porter LLP in all cases in which one
 3   or more of LGE Defendants are parties in MDL No. 1917. Contact information for new counsel
 4   is as follows:
 5                            Munger, Tolles & Olson LLP
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 7                            William.Temko@mto.com
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 8                            Jonathan.Altman@mto.com
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                              Telephone: (415) 512-4000
13                            Facsimile: (415) 512-4077
14
                      Accordingly, the LGE Defendants respectfully request that the following Arnold &
15
     Porter LLP attorneys’ names be removed from the Court’s electronic mail notice list and
16
     counsels’ service lists with respect to the above captioned cases:
17
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18
                             Sharon.Mayo@aporter.com
19
                             WILSON D. MUDGE (Pro Hac Vice)
20                           Wilson.Mudge@aporter.com
21                           DOUGLAS L. WALD (Pro Hac Vice)
22                           Douglas.Wald@aporter.com

23                           JAMES L. COOPER (Pro Hac Vice)
                             James.Cooper@aporter.com
24
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25                           YongSang.Kim@aporter.com
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                             ERIC D. MASON (Pro Hac Vice)
27                           Eric.Mason@aporter.com

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     Master File No.: CV-07-5944-SC                                        THIRD AMENDED NOTICE OF
     MDL No. 1917                                   -2-                   SUBSTITUTION OF ATTORNEY;
     19252466.1                                                                    [PROPOSED] ORDER
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 3 of 12



 1   Defendant LG Electronics, Inc., consents to the Defendant LG Electronics, Inc.
     above substitution.
 2
     DATED: November 13, 2012
 3                                                    By: /s/ Soonah Ju
                                                         Soonah Ju
 4
 5   Defendant LG Electronics U.S.A., Inc.            Defendant LG Electronics U.S.A., Inc.
     consents to the above substitution.
 6
     DATED: November 13, 2012
 7                                                    By: /s/ Soonah Ju
                                                         Soonah Ju
 8

 9   Defendant LG Electronics Taiwan Taipei Co.,      Defendant LG Electronics Taiwan Taipei Co.,
     Ltd. consents to the above substitution.         Ltd.
10
     DATED: November 13, 2012
11
                                                      By: /s/ Soonah Ju
12                                                       Soonah Ju
13
     Arnold & Porter consents to being substituted.   Arnold & Porter LLP
14
     DATED: November 13, 2012
15

16                                                    By: /s/ Wilson D. Mudge
17                                                       Wilson D. Mudge
                                                         Former Attorneys for Defendants LG
                                                         Electronics, Inc., LG Electronics U.S.A.,
18                                                       Inc., and LG Electronics Taiwan Taipei
                                                         Co., Ltd.
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     Master File No.: CV-07-5944-SC                                   THIRD AMENDED NOTICE OF
     MDL No. 1917                                 -3-                SUBSTITUTION OF ATTORNEY;
     19252466.1                                                               [PROPOSED] ORDER
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 4 of 12



 1
     Munger, Tolles & Olson consents to the above       Munger, Tolles & Olson LLP
 2   substitution.
 3   DATED: November 13, 2012
 4                                                      By:/s/ Hojoon Hwang
                                                           Hojoon Hwang
 5                                                         New Attorneys for Defendants LG
                                                           Electronics, Inc., LG Electronics U.S.A.,
 6                                                         Inc., and LG Electronics Taiwan Taipei
                                                           Co., Ltd.
 7
 8            Attestation: The filer of this document attests that the concurrence of the other
 9   signatories thereto has been obtained.
10

11
                                           [PROPOSED] ORDER
12
13            The proposed substitution of the law firm of Munger, Tolles & Olson LLP as the attorneys

14   of record for Defendants LG Electronics, Inc., LG Electronics U.S.A., Inc., and LG Electronics

15   Taiwan Taipei Co., Ltd. in MDL No. 1917, in place of the law firm of Arnold & Porter LLP, is

16   hereby approved.

17            SO ORDERED.
                                                                           S DISTRICT
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             11/16/12
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19   DATED:_____________________                    __________________________________
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20                                                   UNITED STATES DISTRICT COURT JUDGE
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     Master File No.: CV-07-5944-SC                                                THIRD AMENDED NOTICE OF
     MDL No. 1917                                    -4-                          SUBSTITUTION OF ATTORNEY;
     19252466.1                                                                            [PROPOSED] ORDER
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 5 of 12



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 8
                                 UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11
12
     IN RE: CATHODE RAY TUBE (CRT)              Master File No.: CV-07-5944-SC
13   ANTITRUST LITIGATION
                                                MDL No. 1917
14   ___________________________
                                                PROOF OF SERVICE
15   This Document Relates to:

16   ALL ACTIONS

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     Master File No.: CV-07-5944-SC
     MDL No. 1917                                                        PROOF OF SERVICE
     19252804.1
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 6 of 12



 1                                         PROOF OF SERVICE
 2                   I, the undersigned, declare that I am over the age of 18 and not a party to the
 3   within cause. I am employed by Munger, Tolles & Olson LLP in the County of Los Angeles,
 4   State of California. My business address is 560 Mission Street, 27th Floor, San Francisco, CA
 5   94105-2907.
 6                   On November 13, 2012, I served upon the interested party(ies) in this action the
 7   following document(s), copies of which are attached to this Certificate:
 8            THIRD AMENDED NOTICE OF SUBSTITUTION OF ATTORNEY;
              [PROPOSED] ORDER
 9

10
              By placing  the original(s) : a true and correct copy(ies) with the NEF, as set out
11
       :      below, in an addressed, sealed envelope(s) clearly labeled to identify the person(s) being
              served at the address(es) set forth on the attached service list.
12
       :      BY MAIL (AS INDICATED ON THE ATTACHED SERVICE LIST) I caused such
13            envelope(s) to be placed in interoffice mail for collection and deposit in the United States
              Postal Service at 560 Mission Street, Twenty-Seventh Floor, San Francisco, California, on
14            that same date, following ordinary business practices. I am familiar with Munger, Tolles
              & Olson LLP’s practice for collection and processing correspondence for mailing with the
15            United States Postal Service; in the ordinary course of business, correspondence placed in
              interoffice mail is deposited with the United States Postal Service with first class postage
16            thereon fully prepaid on the same day it is placed for collection and mailing.
              BY ELECTRONIC MAIL (AS INDICATED ON THE NEF)
17     :
18
             BY FEDERAL EXPRESS PRIORITY OVERNIGHT DELIVERY (AS INDICATED
              ON ATTACHED SERVICE LIST) I delivered the sealed Federal Express envelope(s) to
19            an employee authorized by Federal Express to receive documents, with delivery fees paid
              or provided for.
20
              BY FACSIMILE (AS INDICATED ON ATTACHED SERVICE LIST) By causing to
21           be sent a true and correct copy(ies) of said document via facsimile transmission. The
              transmission was reported as complete and without error. A true and correct copy of the
22            machine’s transmission report, indicating the date and time that the transmission was
              completed without error is attached to this proof of service and is incorporated herein by
23            this reference. The telephone number of the facsimile machine I used was (213) 683-
              9510. This facsimile machine complies with Rule 2003(3) of the California Rules of
24            Court.
25
             (STATE) I declare under penalty of perjury that the foregoing is true and correct.
26
       :      (FEDERAL) I declare that I am employed in the office of a member of the bar of this
27            court at whose direction the service was made.

28
     Master File No.: CV-07-5944-SC                  -2-
     MDL No. 1917                                                                    PROOF OF SERVICE
     19252804.1
Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 7 of 12
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 8 of 12



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 9   Antitrust Section
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     Master File No.: CV-07-5944-SC              -4-
     MDL No. 1917                                                           PROOF OF SERVICE
     19252804.1
      Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 9 of 12



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     Master File No.: CV-07-5944-SC            -5-
     MDL No. 1917                                                   PROOF OF SERVICE
     19252804.1
     Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 10 of 12



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     Master File No.: CV-07-5944-SC          -6-
     MDL No. 1917                                                PROOF OF SERVICE
     19252804.1
     Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 11 of 12



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     Master File No.: CV-07-5944-SC             -7-
     MDL No. 1917                                                PROOF OF SERVICE
     19252804.1
     Case 3:07-cv-05944-JST Document 1450 Filed 11/16/12 Page 12 of 12



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     Master File No.: CV-07-5944-SC              -8-
     MDL No. 1917                                                PROOF OF SERVICE
     19252804.1
